             Case
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 1                                                 THE HONORABLE ROBERT S. LASNIK
 2
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 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9
     UNITED STATES OF AMERICA,                    )   No. CR19-197-RSL
10                                                )
                    Plaintiff,                    )
11                                                )   ORDER GRANTING UNOPPOSED
               v.                                 )   MOTION TO SCHEDULE GUILTY
12                                                )   PLEA HEARING VIA
     MICHAEL JOHN DEROCHE,                        )   VIDEOCONFERENCE
13                                                )
                    Defendant.                    )
14                                                )
15          THE COURT has considered the unopposed motion of the parties to proceed

16   forward with a guilty plea hearing via videoconference and finds that:

17                  (a) Under General Order 04-20, felony pleas and sentencings may

18   proceed by video or telephone if “the district judge in a particular case finds for specific

19   reasons that the plea or sentencing in that case cannot be further delayed without

20   serious harm to the interests of justice.” A plea hearing in this case cannot be delayed

21   without serious harm to the interests of justice; and

22                  (b) Mr. Deroche would like to plead guilty and resolve the case in a

23   timely fashion; and

24                  (c) Mr. Deroche wishes to enter a plea as soon as possible in light of

25   anticipated delay associated with the COVID pandemic and a desire to alleviate

26   presumptive backlogged court calendars following the COVID recovery process. Mr.


       ORDER GRANTING UNOPPOSED MOTION                             FEDERAL PUBLIC DEFENDER
       TO SCHEDULE GUILTY PLEA HEARING                                1601 Fifth Avenue, Suite 700
       VIA VIDEOCONFERENCE - 1                                          Seattle, Washington 98101
       US v. Michael Deroche; CR19-197RSL)                                         (206) 553-1100
             Case
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 1   Deroche believes that the Court may not be as able to accommodate a timely resolution
 2   of his case in the future as more cases are delayed; and
 3          (d) a videoconference guilty plea hearing would avoid further delays in the
 4   ultimate sentencing in this case, which would cause “serious harm to the interests of
 5   justice.” See General Order No. 04-20 (3/30/20).
 6
 7
 8                    12th day of January,
            DONE this _____             y, 2021.
 9
                                               ________________________________
                                                      _
                                               _________________________________
10
                                               ROBERT S.S LASNIK
11                                             UNITED STATES DISTRICT JUDGE

12
13
     Presented by:
14
     /s/ Gregory Geist
15   Assistant Federal Public Defender
16   Attorney for Michael Deroche

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       ORDER GRANTING UNOPPOSED MOTION                           FEDERAL PUBLIC DEFENDER
       TO SCHEDULE GUILTY PLEA HEARING                              1601 Fifth Avenue, Suite 700
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